          Case 8:20-cv-00048-JVS-JDE Document 957 Filed 10/18/22 Page 1 of 3 Page ID #:59206


             1   JOSHUA H. LERNER, SBN 220755
                   joshua.lerner@wilmerhale.com
             2   WILMER CUTLER PICKERING
                   HALE AND DORR LLP
             3   One Front Street, Suite 3500
                 San Francisco, CA 94111
             4   Tel.: 628.235.1000 / Fax: 628.235.1001
             5   H. MARK LYON, SBN 162061
                   mlyon@gibsondunn.com
             6   GIBSON, DUNN & CRUTCHER LLP
                 1881 Page Mill Road
             7   Palo Alto, CA 94304-1211
                 Tel.: 650.849.5300 / Fax: 650.849.5333
             8
                 BRIAN M. BUROKER, pro hac vice
             9     bburoker@gibsondunn.com
                 GIBSON, DUNN & CRUTCHER LLP
           10    1050 Connecticut Avenue, N.W.
                 Washington, D.C. 20036
           11    Tel.: 202.955.8500 / Fax: 202.467.0539
           12    [Counsel appearances continue on next page]
           13    Attorneys for Defendant Apple Inc.
           14                        UNITED STATES DISTRICT COURT
                                FOR THE CENTRAL DISTRICT OF CALIFORNIA
           15                             SOUTHERN DIVISION
           16    MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                 a Delaware corporation; and
           17    CERCACOR LABORATORIES, INC.,                  APPLE’S NOTICE OF MOTION AND
                 a Delaware corporation,                       MOTION TO STRIKE PLAINTIFFS’
           18                                                  PURPORTED RULE 26(A)(2)(C)
                                    Plaintiffs,                DISCLOSURES
           19
                       v.
           20                                                  Date: Nov. 21, 2022
                 APPLE INC.,                                   Time: 1:30 p.m.
           21    a California corporation,
                                                               Expert Discovery Cut-Off: Dec. 12, 2022
           22                       Defendant.                 Pre-Trial Conference: Mar. 13, 2023
                                                               Trial: Mar. 27, 2023
           23
           24
           25
           26
           27
           28    APPLE’S MOT. TO STRIKE PLAINTIFFS’ PURPORTED RULE 26(A)(2)(C) DISCLOSURES
                                                                          CASE NO. 8:20-cv-00048-JVS (JDEX)
Wilmer Cutler
Pickering Hale
and Dorr LLP
          Case 8:20-cv-00048-JVS-JDE Document 957 Filed 10/18/22 Page 2 of 3 Page ID #:59207


             1   BRIAN A. ROSENTHAL, pro hac vice
                  brosenthal@gibsondunn.com
             2   GIBSON, DUNN & CRUTCHER LLP
                 200 Park Avenue
             3   New York, NY 10166-0193
                 Tel.: 212.351.2339 / Fax: 212.817.9539
             4
                 ILISSA SAMPLIN, SBN 314018
             5    isamplin@gibsondunn.com
                 GIBSON, DUNN & CRUTCHER LLP
             6   333 South Grand Avenue
                 Los Angeles, CA 90071-3197
             7   Tel.: 213.229.7000 / Fax: 213.229.7520
             8   ANGELIQUE KAOUNIS, SBN 209833
                  akaounis@gibsondunn.com
             9   GIBSON, DUNN & CRUTCHER LLP
                 2029 Century Park East Suite 4000
           10    Los Angeles, CA 90067
                 Tel.: 310.552.8546 / Fax: 310.552.7026
           11
                 MARK D. SELWYN, SBN 244180
           12     mark.selwyn@wilmerhale.com
                 WILMER CUTLER PICKERING
           13      HALE AND DORR LLP
                 2600 El Camino Real, Suite 400
           14    Palo Alto, CA 94306
                 Tel.: 650.858.6000 / Fax: 650.858.6100
           15
                 NORA Q.E. PASSAMANECK, pro hac vice
           16     nora.passamaneck@wilmerhale.com
                 WILMER CUTLER PICKERING
           17     HALE AND DORR LLP
                 1225 Seventeenth St., Suite 2600
           18    Denver, CO 80202
                 Tel: 720.274.3152 / Fax: 720.273.3133
           19
                 KENNETH G. PARKER, SBN 182911
           20     ken.parker@haynesboone.com
                 HAYNES AND BOONE, LLP
           21    600 Anton Blvd., Suite 700
                 Costa Mesa, CA 92626
           22    Tel: 949.202.3014 / Fax: 949.202.3152
           23
           24
           25
           26
           27
           28    APPLE’S MOT. TO STRIKE PLAINTIFFS’ PURPORTED RULE 26(A)(2)(C) DISCLOSURES
                                                                          CASE NO. 8:20-cv-00048-JVS (JDEX)
Wilmer Cutler
Pickering Hale
and Dorr LLP
          Case 8:20-cv-00048-JVS-JDE Document 957 Filed 10/18/22 Page 3 of 3 Page ID #:59208


             1   TO THE COURT, PLAINTIFFS, AND ALL COUNSEL OF RECORD
             2           PLEASE TAKE NOTICE that on November 21, 2022, or as soon thereafter as the
             3   matter may be heard, in Courtroom 10C, located at 411 West Fourth Street, Santa Ana,
             4   California, 92701, Defendant Apple Inc. (“Apple”) will, and hereby does, move, under
             5   Federal Rules of Civil Procedure 26 and 37 to strike Plaintiffs’ purported Rule
             6   26(a)(2)(C) disclosures from Richard Priddell, Bilal Muhsin, Joe Kiani, and Mohamed
             7   Diab.
             8           This motion is made following the conference of counsel pursuant to Local Rule
             9   7-3, which took place on October 11, 2022. It is supported by the accompanying
           10    Memorandum of Points and Authorities, the Declaration of Nora Passamaneck and
           11    attached Exhibits 1-16, a Proposed Order, the Declaration of Sarah Frazier, and such
           12    other evidence or argument as may be presented at or before the hearing.
           13    Dated: October 18, 2022          Respectfully submitted,
           14
                                                        H. MARK LYON
           15                                           BRIAN M. BUROKER
           16                                           BRIAN A. ROSENTHAL
                                                        ILISSA SAMPLIN
           17                                           ANGELIQUE KAOUNIS
           18                                           GIBSON, DUNN & CRUTCHER LLP

           19                                           KENNETH G. PARKER
           20                                           HAYNES AND BOONE, LLP

           21                                           MARK D. SELWYN
           22                                           JOSHUA H. LERNER
                                                        NORA Q.E. PASSAMANECK
           23                                           WILMER CUTLER PICKERING HALE AND
           24                                           DORR LLP

           25                                           By: /s/ Mark D. Selwyn
                                                            Mark D. Selwyn
           26
           27                                           Attorneys for Defendant Apple Inc.

           28
                 APPLE’S MOT. TO STRIKE PLAINTIFFS’ PURPORTED RULE 26(A)(2)(C) DISCLOSURES
Wilmer Cutler
                                                         1                CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
